            CASE 0:23-cv-03009-JRT-JFD Doc. 17 Filed 10/06/23 Page 1 of 9




                         UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MINNESOTA


 UNITED STATES OF AMERICA
 U.S. Department of Justice
 950 Pennsylvania Avenue NW
 Washington, DC 20530,

                       Plaintiff,
                                               Civil Action No.: 0:23-cv-03009-JRT-JFD
        v.

 AGRI STATS, INC.
 6510 Mutual Drive
 Fort Wayne, IN 46825

                       Defendant.


                   DEFENDANT’S MOTION TO SEAL SENSITIVE
                      INFORMATION IN THE COMPLAINT

       Defendant Agri Stats, Inc. (“Agri Stats”) respectfully requests this Court to order

Plaintiff United States of America (the “Government”) to withdraw the Complaint in this

action from the public docket, refile it under seal, and meet and confer with Agri Stats

regarding appropriate redactions for a version to be filed on the public docket.

       In support of this motion, Agri Stats states as follows:

       1.       On September 28, 2023, the Government filed a Complaint alleging that Agri

Stats facilitates exchanges of information among broiler, pork, and turkey producers in

violation of Section 1 of the Sherman Act, 15 U.S.C. § 1.

       2.       Before the filing of the Complaint, the Government issued a Civil

Investigative Demand (“CID”) to Agri Stats March 31, 2022. See, 15 U.S.C. §§ 1311-
            CASE 0:23-cv-03009-JRT-JFD Doc. 17 Filed 10/06/23 Page 2 of 9




1314 (the Amended Antitrust Civil Process Act). In compliance with that CID, Agri Stats

produced materials containing competitively sensitive information.

       3.       The vast majority of the information Agri Stats provided to the Government

in response to the CID were deposition testimony given or documents produced in pending

civil litigation: In re Broiler Chicken Antitrust Litigation, C.A. No. 16-cv-8637 (N.D. Ill.);

In re Pork Antitrust Litigation, C.A. No. 18-cv-1776 (D. Minn.); and In re Turkey Antitrust

Litigation, C.A. No. 19-cv-8318 (N.D. Ill.) (all such cases, collectively, the “Proteins

Cases”). All materials that Agri Stats produced in those matters was designated either

Confidential or Highly Confidential pursuant to respective Protective Orders in each case.

See Agreed Confidentiality Order, In re Broilers, ECF. No. 202; Protective Order, In re

Pork, ECF No. 212; Protective Order, In re Turkey, ECF No. 201 (“Protective Orders”).

       4.       When responding to the Government’s CID, Agri Stats requested

confidential treatment of the material it produced as “Confidential Business Information”

under 28 C.F.R. § 16.7, including, among other things compliance with exemptions to any

request for disclosure under the Freedom of Information Act such as those set forth in 5

U.S.C. § 552(b)(3), (4), and (7).

       5.       Notwithstanding the statutory protections, the Government’s Complaint

contains, or refers to, confidential information including direct quotes from documents and

testimony in pending litigation, excerpts from confidential Agri Stats reports (the format

of which is competitively sensitive), and references to Agri Stats current ownership

structure. See, e.g., Comp. ¶¶ 12, 16 fn. 14, 17, 19 fig. 1, 25, 26, 36 fig. 2, 37 fig. 3, 42 fig.

4, 43 fig. 5, 67, 70, 80 fig. 11, and 86. Agri Stats designated all of this material as


                                                2
            CASE 0:23-cv-03009-JRT-JFD Doc. 17 Filed 10/06/23 Page 3 of 9




Confidential pursuant to 28 C.F.R. § 16.7 when produced to the Government and had

designated the bulk Highly Confidential under the Protective Orders in the Proteins Cases.

Agri Stats designated the remainder as Confidential under those same Protective Orders or

pursuant to 28 C.F.R. § 16.7.1

       6.       DOJ’s disclosure of this information on the public record violates not only

the Government’s nondisclosure obligations under the relevant statutes, regulations, and

agreement between the Government and Agri Stats to keep its information confidential,

but also reflects a blatant end-run around the Protective Orders entered by in the Protein

Cases. DOJ’s disclosure also chills the willingness of future civil investigative demand

recipients from engaging with the Government and producing materials in a cooperative

fashion when the Government in turn shows no regard for the appropriate treatment of the

confidential information that the recipients produce. For these reasons, the Government’s

disclosure of Defendants’ confidential information should be cured by an order compelling

the Government to withdraw the unredacted Complaint from the public record and to

substitute a redacted version.

       7.       The applicable regulations governing the designation of confidential

commercial information is clear: when the “submitter” of confidential commercial

information “designate[s] by appropriate markings, either at the time of submission or

within a reasonable time thereafter, any portion of its submission that it considers to be


1
 The Government’s Complaint also appears to contain material designated as Confidential
and Highly Confidential by multiple other parties. Those parties may additionally seek to
have their sensitive material redacted but Agri Stats does not have the standing to seek such
relief for anyone but itself.

                                              3
            CASE 0:23-cv-03009-JRT-JFD Doc. 17 Filed 10/06/23 Page 4 of 9




protected,” 28 C.F.R. § 16.7(b), the Government “shall promptly provide written notice to

[the] submitter . . . whenever records containing such information” are to be made public.

Id.(c)(1). The only applicable exception to the notice requirement of 28 C.F.R. § 16.7 is

when “[t]he information has been lawfully published or has been officially made available

to the public.” Id.(d)(2). Upon receipt of notice the submitter must be afforded the

opportunity to object to the disclosure of its confidential information. Id.(e).

       8.       The Government followed none of these steps before filing its Complaint

even though Agri Stats expressly designated that the information it provided was to be

considered Confidential Business Information. The Government gave Agri Stats no notice

that the materials it produced were to be made public and thus no opportunity to object to

the disclosure.

       9.       The Government insists that it has the right to use such material in an

enforcement action under 15 U.S.C. § 1312(c)(2) and 15 U.S.C. § 1313(d)(1). See Exhibit

1 to the Declaration of Peter H. Walsh (“Walsh Decl.”), dated October 6. 2023. Neither

statute addresses the confidential nature of materials produced to the Government. They

merely identify the process through which the Government can obtain information through

civil investigative demands and how the Government can designate a custodian to produce

those materials in a later proceeding. The Government’s position appears to be that 15

U.S.C. § 1312(c)(2) and 15 U.S.C. § 1313(d)(1) make it the sole arbiter of how the

information obtained from other parties—in this case, information produced with an

expectation of confidentiality under the governing regulations and further shielded from

disclosure by the respective Protective Orders in the Proteins Cases—is made public. The


                                              4
         CASE 0:23-cv-03009-JRT-JFD Doc. 17 Filed 10/06/23 Page 5 of 9




Government, again relying on those statutes, further disclaims any obligation to confer with

producing parties before making that information public. Those statutes provide no support

for the Government’s assertions. Indeed, the Government’s position contrasts starkly with

the fact that both 15 U.S.C. § 1312(c)(2) and 15 U.S.C. § 1313(d)(1) outline a compulsory

process under which a private party must provide information to the Government. As such,

the Government’s position is that a private party like Agri Stats must provide the requested

information even if it is competitively sensitive, and the producing party has no say in

whether its sensitive information can be made public. No authority supports that position.

       10.    In an email from the Government to Agri Stats’ counsel, the Government

argued that the materials are not competitively sensitive. See Walsh Decl. Ex. 1. But under

its own regulations, the Government is not authorized to make that decision. The materials

are confidential business information and were designated as such by Agri Stats, the

submitter. The regulations do not permit the Government to decide unilaterally what

material is confidential and what is not.

       11.    The case law is clear that the statutes cited by DOJ do not make the

Government sole arbiter of how materials produced under CIDs should be treated or

disclosed. In Aluminum Co. of America v. United States Department of Justice, Antitrust

Division, 444 F. Supp. 1342 (D.D.C. 1978), the Government asserted that the Amended

Antitrust Civil Process Act permitted it to “unilaterally decide whether to disclose”

confidential documents, id. at 1344, precisely the same position it asserts here. In response,

Alcoa sought a protective order precluding the Government from using the confidential




                                              5
         CASE 0:23-cv-03009-JRT-JFD Doc. 17 Filed 10/06/23 Page 6 of 9




information Alcoa produced in future investigative depositions. Id. The court sided with

Alcoa and rejected the Government’s broad claim of authority:

       In sum the Department, insisting that it has the sole discretion to determine whether
       to use CID documents [in future proceedings], contends that a protective order is
       precluded by section 1313(c)(2) and would undermine the purposes of the 1976
       Amendments. Upon consideration of the relevant provisions, statutory framework,
       and legislative history, it appears that the interpretation of the Department is
       incorrect.

Id. at 1345-46. Unlike in Aluminum Co., the Government did not even give Agri Stats the

opportunity to move for a protective order. It filed the Complaint with the information on

the public docket and only informed Agri Stats of the filing after the fact when it requested

a waiver of service.

       12.    The Government’s own internal policies also support Agri Stats.           The

Department of Justice Antitrust Division Manual (“Manual”) provides that provides that

“[i]f competitively sensitive information is to be used in a pleading, the Division’s general

policy is to make reasonable efforts to allow the party that produced the material the

opportunity to seek a protective order. Alternatively, the Division may voluntarily file the

document or portion of the pleading under seal.” See Manual, 5th Ed., page III-66, attached

as Walsh Decl. Ex. 2. The Government gave Agri Stats no such opportunity here.

       13.    The Government well understands the limitations that the regulations, the

cases, and its own internal policies place on its disclosure of confidential information, but

nevertheless chose to ignore those limitations here. In September 2022, the Government

filed a Complaint seeking to enjoin a merger that contained quotations from, and references

to, confidential information that the named defendants had produced to the Government



                                             6
         CASE 0:23-cv-03009-JRT-JFD Doc. 17 Filed 10/06/23 Page 7 of 9




through a separate process. United States v. ASSA ABLOY AB, et al., CA No. 1:22-cv-

2791. In that instance, after the defendants filed a motion similar to this one, the

Government withdrew its complaint from the docket and DOJ website, met and conferred

with the defendants, and filed a redacted version of the complaint that satisfied the

defendants concerns with respect to the treatment of their confidential information. See

id., ECF No. 17.

       14.    Continued public disclosure of such confidential business information will

cause commercial and competitive harm to Agri Stats and potentially those to the broiler,

pork and turkey businesses Agri Stats serves, or has served in the past. See State of New

York v. Microsoft Corp., No. CIV.A. 98-1233(CKK), 2002 WL 1315804, at *1 (D.D.C.

May 8, 2002) (“Protecting an entity's ‘competitive standing’ through retained

confidentiality in business information has been recognized as an appropriate justification

for the restriction of public or press access.”). This is particularly ironic considering DOJ’s

merits theory is that Agri Stats facilitated an unlawful exchange of confidential information

and that such conduct must be enjoined to protect consumers.

       15.    In short, the Government’s disclosure of confidential is inconsistent with the

applicable statutes, regulations, case law, and internal Government policy. It also flaunts

three Protective Orders entered in the Proteins Cases, including one this Court entered.

       16.    The fact that the disclosure has already occurred does not minimize the

importance of the relief requested in this case. To the contrary, it only heightens the need

to have the Government withdraw the Complaint promptly before further harm occurs.




                                              7
         CASE 0:23-cv-03009-JRT-JFD Doc. 17 Filed 10/06/23 Page 8 of 9




      17.    Before filing this Motion, Agri Stats conferred with counsel for the

Government on October 2, 2023 and October 3, 2023 in a good-faith effort to determine

whether there is any opposition to the relief sought and/or to narrow the areas of

disagreement, pursuant to LCvR 7(a). The Government refused to redact any of Agri Stats’

confidential information in its Complaint, necessitating this motion. See Walsh Decl. Ex.

1.

                                    CONCLUSION

      For the foregoing reasons, Agri Stats respectfully requests that this Court order the

Government to withdraw the unredacted Complaint from the public docket, refile it under

seal, and file a new version of the Complaint on the public docket redacting Agri Stats’

confidential business information. A proposed redacted version of the Complaint is being

submitted with this motion. See Walsh Decl. Ex. 3 Agri Stats remains willing to confer

with the Government about the appropriate redactions for the public filing.



Dated: October 6, 2023                 Respectfully submitted,


                                       /s/ Peter H. Walsh
                                       Peter H Walsh (MN# 0388672)
                                       Hogan Lovells US LLP
                                       80 South 8th Street Ste 1225
                                       Minneapolis, MN 55402
                                       Tel: 612-402-3017
                                       Fax: (612) 339-5167
                                       Email: peter.walsh@hoganlovells.com
                                       William L. Monts III (Pro Hac Vice Forthcoming)
                                       Justin W. Bernick (Pro Hac Vice Forthcoming)
                                       HOGAN LOVELLS US LLP
                                       555 Thirteenth Street, N.W.


                                            8
CASE 0:23-cv-03009-JRT-JFD Doc. 17 Filed 10/06/23 Page 9 of 9



                         Washington, D.C. 20004
                         Tel: (202) 637-5600
                         Fax: (202) 637-5910
                         william.monts@hoganlovells.com
                         justin.bernick@hoganlovells.com

                         Counsel for Defendant Agri Stats, Inc.




                              9
